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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 22-cr-20209-MOORE

  UNITED STATES OF AMERICA,

         Plaintiff,
  vs.

  RICARDO RODRIGUEZ-OTERO

        Defendant.
  ___________________________________/

                REPORT AND RECOMMENDATION ON CHANGE OF PLEA

         THIS CAUSE is before the Court following an Order of Reference to conduct a proceeding

  for acceptance of a guilty plea by Defendant Ricardo Rodriguez-Otero. Based upon the change of

  plea hearing conducted on September 7, 2022, this Court makes the following findings, and

  recommends that the guilty plea be accepted.

  1.     The undersigned advised Defendant of his right to have these proceedings conducted by

  the District Judge assigned to the case, and that this Court was conducting the change of plea

  hearing pursuant to an Order of Reference from the District Court. I further advised Defendant that

  the District Judge assigned to this case would be the sentencing judge and would make all findings

  and rulings concerning Defendant’s sentence. I advised Defendant that he did not have to permit

  the undersigned United States Magistrate Judge to conduct this hearing and could request that the

  change of plea hearing be conducted by the District Judge assigned to the case. Defendant, who

  stated that he had discussed his right to have the hearing conducted by the District Court Judge

  with his attorney, and the Assistant United States Attorney consented on the record to the

  undersigned conducting the change of plea hearing.
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  2.     The plea colloquy was conducted in accordance with the outline set forth in the Bench

  Book for District Judges, and in accordance with Fed. R. Crim. P. 11.

  3.     Defendant pled guilty to count two of the indictment, which charges him with distributing

  a controlled substance, that is, five hundred grams or more of a mixture and substance containing

  a detectable amount of cocaine, in violation of 21 U.S.C. § 841(a)(1) and 841(b)(1)(B)(ii). I

  advised Defendant that the maximum penalty the Court could impose is a term of up to 40 years

  imprisonment, and not less than five years imprisonment, followed by a term of supervised release

  of at least four years and up to life. In addition to any term of imprisonment, the Court may impose

  a fine of up to $5,000,000, and the Court will assess a mandatory special assessment of $100.00,

  which Defendant has agreed is due to be paid at the time of sentencing. Defendant was also advised

  of the possibility of restitution, forfeiture, and the potential for immigration consequences

  including deportation. Defendant acknowledged that he understood the possible maximum

  penalties that could be imposed in the case.

  4.     To set forth the factual basis for the entry of the plea, the Government proffered the facts

  it would have established at trial. The Government established all the essential elements of the

  crime to which Defendant is pleading guilty. Defendant acknowledged that the facts proffered by

  the Government were accurate, and defense counsel agreed that the proffer satisfied all elements

  of the crime charged.

  5.     The parties entered into a written plea agreement that was thereafter filed with the Court.

  I reviewed that plea agreement on the record and Defendant acknowledged that he had reviewed

  the entire agreement, which was translated into Spanish for him, with counsel before he signed it.

  Defendant acknowledged that he is satisfied with his attorney and that he has had a full opportunity
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  to discuss all facets of his case with his attorney. Defendant indicated that he has reviewed

  discovery with counsel.

  6.     Based upon all of the foregoing and the plea colloquy conducted by this Court, the

  undersigned finds that Defendant is fully competent and capable of entering an informed plea, that

  Defendant is aware of the nature of the charges and the consequences of the plea, and that the plea

  of guilty is a knowing and voluntary plea supported by an independent basis in fact containing

  each of the essential elements of the offense.

  7.     Therefore, the undersigned recommends that Defendant be found to have freely and

  voluntarily entered his guilty plea to Count 2 of the indictment filed in this case, as more

  particularly described herein, and that Defendant be adjudicated guilty of the offense as charged.

  8.     A pre-sentence investigation report is being prepared for the District Court by the United

  States Probation Office. The sentencing will be set by separate order.

         As I advised the Parties in open court, the parties will have fourteen calendar days from

  the date of service of this Report and Recommendation within which to file written objections, if

  any, for consideration by the United States District Judge. Pursuant to Fed. R. Crim. P. 59(b),

  Eleventh Circuit Rule 3-1, and accompanying Internal Operating Procedure 3, the parties are

  hereby notified that failure to object in accordance with 28 U.S.C. § 636(b)(1) waives the right to

  challenge on appeal the District Court’s order based on unobjected-to factual and legal

  conclusions. See Thomas v. Arn, 474 U.S. 140 (1985).

  Respectfully submitted in Chambers at Miami, Florida, this 9th day of September, 2022.


                                                      ________________________________
                                                      LAUREN F. LOUIS
                                                      UNITED STATES MAGISTRATE JUDGE
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  cc:   The Honorable K. Michael Moore
        Counsel of record
